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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


    JENNIFER ROOT BANNON, as the Special
    Personal Representative of the Estate of
    Juston Root,

          Plaintiff,

          v.
                                                          Civil Action No. 1:20-cv-11501-RGS
    BOSTON POLICE OFFICERS DAVID
    GODIN, JOSEPH McMENAMY, LEROY
    FERNANDES, BRENDA FIGUEROA, and
    COREY THOMAS;                                         HEARING REQUESTED

    MASSACHUSETTS STATE TROOPER
    PAUL CONNEELY; and

    THE CITY OF BOSTON,
    MASSACHUSETTS;

          Defendants.


                            PLAINTIFF’S MOTION FOR
               PARTIAL SUMMARY JUDGMENT ON COUNTS 1–2, 5–6, AND 8–9

         Pursuant to Fed. R. Civ. P. 56, Plaintiff Jennifer Root Bannon (“Plaintiff”) moves for

partial summary judgment on liability on Counts 1–2, 5–6, and 8–9 of the Complaint against the

Individual Defendants.1 These Counts assert civil rights and related claims against the Individual

Defendants for their respective roles in killing Plaintiff’s brother Juston Root.

         The incontrovertible evidence—namely the Individual Defendants’ own testimony and

statements, video footage, photographs, and the testimony and statements of an independent

bystander—shows that the Individual Defendants shot at Mr. Root 31 times. Mr. Root suffered


1
 Each Boston Police (“BPD”) officer defendant and Defendant Trooper Paul Conneely are individually referred to as
“Defendant [Last Name].” The BPD officer defendants are collectively referred to as the “BPD Officer Defendants”
and, together with Defendant Conneely, are collectively referred to as the “Individual Defendants.” Defendant City
of Boston is referred to as the “City.”
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multiple gunshot wounds to his torso and limbs. The Individual Defendants shot and killed Mr.

Root after he had previously been shot by Defendant Godin and another BPD police officer, after

Defendant McMenamy used his cruiser to intentionally ram Mr. Root’s moving car (in violation

of BPD policy and training), after Mr. Root had been in a serious car accident that took two of the

wheels off his car, and after Defendant McMenamy kicked Mr. Root. The Individual Defendants

did not assess Mr. Root’s physical condition or whether he was cognitively able to understand or

respond to police commands. Instead, they simultaneously yelled confusing and unintelligible

commands at him and a bystander who was trying to help him. When Mr. Root did not respond

to the various commands—“Let me see your hands,” “Get on the ground,” “Show us your hands,”

“Stay on the ground and show me your hands,” “Get down,” “Let me see your hands,” and “Stay

down”—the Individual Defendants opened fire. At the time they shot him, he was—in their

words—“on the ground,” was on his knees, was sitting on the ground, was “like in a half lying,

half kneeling type of position, “was stumbling,” was “lying, kneeling” but “was never able to get

up,” and was not fleeing. The Individual Defendants testified that they shot him because they

thought he may have been “reaching” for a gun, thought they heard the word “gun,” or they heard

a gunshot. Mr. Root was not in possession of a firearm. These facts are not in dispute.

       The law is clear that given these circumstances, the Individual Defendants used excessive

force against Mr. Root in violation of his Fourth Amendment rights (Counts 1 and 2). This same

conduct also amounts to assault and battery under Massachusetts law, and the Individual

Defendants are liable for Mr. Root’s wrongful death (Counts 8 and 9). Further, Defendant

McMenamy used excessive force when he “rammed” Mr. Root’s car with his cruiser and again

when he kicked Mr. Root immediately before shooting him (Counts 5 and 6). Accordingly,

Plaintiff is entitled to judgment as a matter of law on these counts.




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       In support of this Motion, Plaintiff relies on the accompanying Memorandum of Law,

Statement of Undisputed Material Facts, and the Declaration of Alison T. Holdway and the

exhibits attached thereto.

       WHEREFORE, Plaintiff respectfully requests that the Court enter partial summary

judgment in her favor on liability on Counts 1–2, 5–6, and 8–9 of the Complaint.



 Dated: August 8, 2022                             Respectfully submitted,

                                                   PLAINTIFF JENNIFER ROOT BANNON,

                                                   By her attorneys,

                                                   /s/ Mark A. Berthiaume
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